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 8               IN THE UNITED STATES DISTRICT COURT
 9            FOR THE CENTRAL DISTRICT OF CALIFORNIA
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11 EMPYREAL ENTERPRISES, LLC,               Case No.: 5:22-cv-00094-JWH-SHKx
12                    Plaintiff, ORDER ON PLAINTIFF’S
           v.                    APPLICATION FOR LEAVE TO
13 THE UNITED STATES OF AMERICA, FILE UNDER SEAL
   et al.,
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                       Defendants.
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 1        Pending before the court is Plaintiff’s Application for Leave to File Under
 2 Seal (“Application”). In consideration of the Application and the Supporting

 3 Declaration of Deirdra O’Gorman, and upon good cause shown, the following shall

 4 be filed under seal:

 5          Sealed Supplemental Declaration of Deirdra O’Gorman in Support of
 6          Plaintiff’s Application for Leave to File Under Seal and Renewed
            Ex Parte Temporary Restraining Order and Order to Show Cause re
 7          Preliminary Injunction
 8          Portions of Exhibit 1 - Missouri Licensed Medical Marijuana Dispensary
            Facilities Records
 9          Portions of Exhibit 2 - California Department of Cannabis Control
10          License Records
            Portions of Exhibit 3 - Empyreal Police Stop Procedures Card
11          Exhibit 4 - Mitigation Packet from Empyreal Counsel dated
12          November 30, 2021, including letter and exhibits
13        IT IS SO ORDERED.
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15 Dated: January 31, 2022

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                                          John W. Holcomb
17                                        UNITED STATES DISTRICT JUDGE
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